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                               Exhibit 47



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                                           Page 311
                       IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF MASSACHUSETTS

         -----------------------------------X

         IN RE:     PHARMACEUTICAL INDUSTRY                )

         AVERAGE WHOLESALE PRICE LITIGATION ) MDL No. 1456

         -----------------------------------) Civil Action

         THIS DOCUMENT RELATES TO:                         ) No. 01-12257-PBS

         United States of America, ex. rel. ) Hon. Patti Saris

         Ven-a-Care of the Florida Keys,                   )

         Inc., v. Dey, Inc., et. al., Civil )

         Action No. 05-11084-PBS; and United)

         States of America, ex. rel.                       ) December 3, 2008

         Ven-a-Care of the Florida Keys,                   ) 9:32 a.m.

         Inc., v. Boehringer Ingleheim                     )

         Corp. et. al., Civil Action                       )

         No. 07-10248-PBS.                                 ) VOLUME II

         -----------------------------------X

         Continued deposition of THE NEBRASKA DEPT. OF HEALTH AND

         HUMAN SERVICES by GARY CHELOHA, taken by Defendants,

         pursuant to Notice, held at the Cornhusker Hotel, Lincoln,

         Nebraska, before Shana W. Spencer, a Certified Shorthand

         Reporter and Notary Public of the State of Nebraska.




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                                                                                         Page 312
    1
                                               A P P E A R A N C E S:
    2

    3
             Attorney for Plaintiff
    4

    5
                                    UNITED STATES DEPARTMENT OF JUSTICE
    6
                                    601 D Street, NW, Room 9929
    7
                                    Ben Franklin Station
    8
                                    Washington, D.C. 20004
    9
                                    BY:        ANDY MAO, ESQUIRE
 10
                                               andy.mao@usdoj.gov
 11

 12

 13
             Attorney for Deponent
 14

 15
                                    DEPARTMENT OF HEALTH AND HUMAN SERVICES
 16
                                    301 Centennial Mall South
 17
                                    Fifth Floor
 18
                                    Lincoln, Nebraska 68509
 19
                                    BY:        MATTHEW DUNNING, ESQUIRE
 20

 21

 22
             (CONTINUED)

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                                                                                           Page 370
    1
             Exhibit No. 4.
    2
                        Q.          (BY MR. MAO)                 Mr. Cheloha, I'd like to
    3
             turn your attention to the second page, the last
    4
             full paragraph.
    5
                        A.          I see that.
    6
                        Q.          Can you read that aloud, please?
    7
                        A.          We would like to clarify HFCA policy
    8
             that a dispensing fee determination must be
    9
             separate and distinct from the EAC determination
 10
             and unrelated to the cost of the drug products.
 11
             In every instance, regardless of the State
 12
             determination of individual prescription payment
 13
             limits, the State must have established the
 14
             reasonable dispensing fees which would be used to
 15
             determine whether the State is in compliance with
 16
             the upper limits as specified in current drug
 17
             regulations at 42 CFR 447.331.
 18
                        Q.          Thank you.                 Has Nebraska ever increased
 19
             its ingredient cost reimbursement to make up for
 20
             inadequate dispensing fees?
 21
                                    MS. LORENZO:                 Objection.   Form.
 22
                                    MS. CITERA:                 Form.

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                                                                                          Page 371
    1
                                    THE WITNESS:                No, it has not.
    2
                        Q.          (BY MR. MAO)                Has Nebraska ever
    3
             increased its dispensing fee in order to make up
    4
             for inadequate ingredient cost payments?
    5
                                    MS. LORENZO:                Objection.   Form.
    6
                                    MS. CITERA:                Form.
    7
                                    THE WITNESS:                No, it has not.
    8
                        Q.          (BY MR. MAO)                Has Nebraska Medicaid
    9
             ever decreased its dispensing fee to adjust for
 10
             inflated ingredient cost reimbursements?
 11
                                    MS. LORENZO:                Objection.   Form.
 12
                                    THE WITNESS:                No, it has not.
 13
                        Q.          (BY MR. MAO)                Thank you.   In your --
 14
             one more question.                            In your extensive time with
 15
             the Medicaid program in Nebraska, has it ever
 16
             been the policy of the Nebraska program to use
 17
             one component of the pharmacy cost reimbursement,
 18
             be it ingredient cost or dispensing fee, to make
 19
             up for potential inadequacies of the other
 20
             component?
 21
                                    MS. LORENZO:                Objection.   Form.
 22
                                    THE WITNESS:                No, it has not.

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                                                                                         Page 385
    1
             in the Nebraska Medicaid program.                              Do you
    2
             remember talking to her about that?
    3
                        A.          Yes.
    4
                        Q.          Okay.           And I believe you testified that
    5
             one of the considerations in setting the pharmacy
    6
             cost reimbursement was to make sure that enough
    7
             pharmacies were adequately compensated for their
    8
             pharmacy costs such that they could continue
    9
             participating in the Medicaid program; is that
 10
             correct?
 11
                        A.          Yes, it is.
 12
                        Q.          Okay.           We also talked about the 1986
 13
             Jacobs study, the survey that was done.                                 And as a
 14
             result of that, is it correct that Nebraska
 15
             adopted an EAC calculation of AWP minus 8.71
 16
             percent?
 17
                        A.          Yes.
 18
                        Q.          And do you recall that the 8.71
 19
             discount was based on a 70th percentile of
 20
             certain discounts that were offered?
 21
                                    MS. LORENZO:               Objection.    Form.
 22
                                    THE WITNESS:               Yes.   I believe that's

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                                                                                         Page 386
    1
             correct.
    2
                        Q.          (BY MR. MAO)               And by choosing the 70th
    3
             percentile, does that -- strike that.
    4
                                    By choosing the 70th percentile as the
    5
             point of establishing the discounts off of AWP
    6
             for all drugs covered by Nebraska Medicaid, is it
    7
             necessarily the case that not every pharmacy will
    8
             be able to purchase every drug at AWP minus 8.71
    9
             percent?
 10
                                    MS. LORENZO:               Objection.    Form.
 11
                                    THE WITNESS:               Yes.   That would mean
 12
             that some could not purchase it at that price.
 13
                        Q.          (BY MR. MAO)               And is it that,
 14
             notwithstanding the fact that it was one of
 15
             Nebraska Medicaid's responsibilities to ensure
 16
             access, that it was also one of its
 17
             responsibilities to be fiscally prudent as the
 18
             steward of the Medicaid funds?
 19
                                    MS. LORENZO:               Objection.    Form.
 20
                                    THE WITNESS:               Yes, it is.
 21
                        Q.          (BY MR. MAO)               And that, based upon the
 22
             Nebraska Medicaid program's best judgments, AWP

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    1
             minus 8.71 at the 70th percentile represented the
    2
             best balancing of those dual competing
    3
             objectives?
    4
                                    MS. LORENZO:               Objection.   Form.
    5
                                    THE WITNESS:               Yes, it does.
    6
                        Q.          (BY MR. MAO)               When Nebraska Medicaid
    7
             moved to AWP minus 10 as the calculation method
    8
             for EAC, was a survey done to determine what
    9
             percentile that represented in terms of discounts
 10
             to Nebraska pharmacies?
 11
                        A.          No.        The survey was not done.
 12
                        Q.          Notwithstanding that a survey was not
 13
             done, do you believe that that discount
 14
             percentage would have resulted in certain
 15
             pharmacists not being able to purchase drugs at
 16
             that discount?
 17
                                    MS. LORENZO:               Objection.   Form.
 18
                        Q.          (BY MR. MAO)               AWP minus 10 percent?
 19
                        A.          Yes.          I do believe that's the case.
 20
                        Q.          And, again, the AWP minus 10 percent
 21
             was the State's best attempt at balancing its
 22
             objectives of reimbursing -- reimbursing

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    1
             pharmacists adequately for their costs and being
    2
             fiscally prudent with the Medicaid funds?
    3
                                    MS. LORENZO:               Objection.    Form.
    4
                                    THE WITNESS:               Yes.    That's correct.
    5
                        Q.          (BY MR. MAO)               And the same question
    6
             with regard to when the State moved to AWP minus
    7
             11 percent.                   Do you assume -- was a survey done
    8
             to determine what percentile of discounts that
    9
             represented --
 10
                                    MS. LORENZO:               Objection.
 11
                        Q.          (BY MR. MAO)               -- for Nebraska
 12
             pharmacists?
 13
                                    MS. LORENZO:               Objection.    Form.
 14
                                    THE WITNESS:               No.    No survey was done.
 15
                        Q.          (BY MR. MAO)               But do you assume that,
 16
             based upon that discount off the AWP, that
 17
             certain pharmacies in Nebraska might not be able
 18
             to purchase certain drugs at that discounted
 19
             rate?
 20
                                    MS. LORENZO:               Objection.    Form.
 21
                                    THE WITNESS:               Yes.    That's correct.
 22
             Certain ones would not be able to.

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    1
                        Q.          (BY MR. MAO)                And that was the best
    2
             balancing of its interests by the Nebraska
    3
             Medicaid program?
    4
                                    MS. LORENZO:                Objection.    Form.
    5
                                    THE WITNESS:                Yes.    That's correct.
    6
                                    MR. MAO:               I have no more further
    7
             questions.                 Thank you very much for your time,
    8
             Mr. Cheloha.
    9
                                    THE WITNESS:                You're welcome, Mr. Mao.
 10
                                    MR. DUNNING:                Now, you've --
 11
                                    MS. LORENZO:                Right.    I've got --
 12
                                    MR. DUNNING:                -- provided us an
 13
             informal request to have some redirect questions?
 14
                                    MS. LORENZO:                Right.    Is that -- it
 15
             looks like we're on schedule.                               Would that be
 16
             correct?
 17
                                    MR. DUNNING:                Yes.    I think so.        And,
 18
             Toni, will you have redirect questions, also?
 19
                                    MS. CITERA:                I may have a couple.
 20
                                    MR. DUNNING:                Okay.    I think we're fine
 21
             on time.
 22
                                    MS. LORENZO:                Could we just take, like,

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